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  EXHIBIT 2
                         Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 2 of 13




  I   MELINDA HAAG (CABN 132612)
      United States Attorney
 2
      DAVrD R. CALLAWAY (CABN t21782)
 3    Chief, Criminal Division

 4    KATHRYN HAUN (DCBN 484131)
      wrLLrAM FRENTZEN (LABN 2442t)
 5    Assistant United States Attorneys

 6    RAYMOND N. HULSER (MABN 5s1350)
      Acting Chief, Public Integrity Section
 7
      RTCHARD B. EVANS (DCBN 441494)
 8    Trial Attomey

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             San Francisco, California 941 02-349 5
t0           Telephone: (41 5) 436-7200
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12    Attorneys for United States of America

13
                                       UNITED STATES DISTRICT COURT
14
                                    NORTHERN DISTRICT OF CALIFORNIA
15
                                           SAN FRANCISCO DIVISION
16

17    UNITED STATES OF AMERICA,                          NO.

18           Plaintiff                                   PLEA AGREEMENT

19                                                       DRAFT2
20    SHAUN W. BRIDGES,

2t           Defendant.

22

1.5          I, Shaun W. Bridges, and the United States Attomey's Office for the Northern District of

24    California and the United States Department of Justice, Public Integrity Section ("the government"),

25    enter into this written plea agreement (the "Agreement") pursuant to Rule 1l(c)(1)(A) and   l1(c)(l)(B)
26    ofthe Federal Rules ofCriminal Procedure:
27    The Defendant's Promises

28           1   .    I agree to plead guilty to Counts One and Two of the captioned Information charging me
                     Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 3 of 13




 I   with money laundering, in violation of l8 U.S.C. $ 1952, and (B) and with obstruction ofjustice, in            Deleted:6(a)(l)(A)


 2   violation of l8 U.S.C. $ 1512(c)(2). I agree that the elements ofthe offenses are as follows:

 J   Count   One:   (1) I conducted a financial transaction involving property that represented the proceeds   of
 4                  wire fraud, in violation of Title 18 U.S.C. $ 1343;

 5                  (2) I knew that the property represented the proceeds ofwire fraud; and

 6                  (3) I knew that the transaction was designed in whole or in part to promote the carrying

 7                  on   ofwire fraud, or to conceal or disguise the nafure, location, source, ownership, or

 8                  control ofthe proceeds ofwire fraud.

 9                  I further agree that the elements of the underlying unlawful activity of wire fraud are:

l0                  (1) I knowingly devised a scheme or plan to defraud or to obtain money and property by

l1                  means offalse or fraudulent pretenses, representations, or promises;

12                  (2) the statements made or facts omitted were material;

l3                  (3) I acted with the intent to defraud, that is, the intent to deceive or cheat; and

t4                  (4) I used or caused to be used an interstate wire communication to carry out or attempt

15                  to carry out an essential part ofthe scheme.

l6 Count Two: (1) I obstructed, influenced, or impeded         an official proceeding; and

t7                  (2) in doing so, I acted comrptly.

l8           I agree that the maximum penalties are as follows:

t9   Count One:

20                  a.       Maximum prison    term                 20 years

21                  b.       Maximum    fine                        $250,000 or twice the gross gain or
                                                                    loss, whichever is greater
22
                    c.       Maximum supervised release term 3 years
23
                    d.       Restitution                            To be determined
24
                    e.       Mandatory special   assessment         $100
25
                    f.       Forfeinrre                             See below
26
     Count Two:
27
                    a.       Maximum prison    term                 20 years
28
                      Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 4 of 13




 I

 2                   b.      Maximum fine                             $250,000

 3                           Maximum supervised release term          3 years

 4                   d.      Restitution                             To be determined

 5                   e.      Mandatory special assessment             $100

 6                   f.      Forfeiture                               See below

 7

 8           2.      I agree that I am guilty ofthe offenses to which I am pleading guilty, and I agree that the

 9   following facts are true:

l0           On or about January 25, 201 3, I devised a scheme to defraud and to obtain money and property

l1   through false and fictitious representations. I utilized an administrator account on the Silk Road website

t2   belonging to another individual, and not intended for me or my personal use, to obtain access to that site.

13   I am aware and agree that the government could prove that Silk Road was a website where illegal goods

t4   were posted for sale, including narcotics, and that payments were accepted on the site in    Bitcoin. I   used

15   the administrator account to reset passwords of vendor accounts and other accounts to give me access to

l6   those accounts and any bitcoin in the accounts. I then moved a total of approximately 20,000 bitcoin

t7   from various Silk Road vendor accounts into a "wallet" over which I exercised control. The value at the

18   timethebitcoiurvasstolenrvasapproriniatel)'5350.000.           OnJanuary26,20l3, Imovedthebitcoininto

19   an account at Mt. Gox, a digital currency exchange based in Japan.

20           On January   27 ,   2013, I attempted to lull the manager of the Silk Road site, Ross William

2t   Ulbricht, alWa"Dread Pirate Roberts," a/k/a "DPR," by telling him that I, too, had had bitcoin stolen

22   from me. This communication took place by interstate wire; I agree that the govemment could prove

23   that Ulbricht was in the Northern District of Califomia on that date, and that I was in Maryland.

24          Between March and May of 2013, I converted the bitcoin into U.S. currency and caused wire

25   transfers of money totaling approximately $820,000 from the accounts at Mt. Gox into a Quantum

26   Intemational Investments, LLC, account I controlled at Fidelity. On June 2,2014,1transferred funds

27   from that Quantum Fidelity account into an account in thejoint names ofmyselfand a rrcrson knorvn to             Deleted: A.E

28   the parties. Specifically, I conducted the following financial transactions:
                       Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 5 of 13




 I

 2
       I)ate              Amorrrrt          l)escrintion   of Financial Tmnsaction
 3
       1/6/11             qqR 51 I   OR     Wire transfer from Mt. Gox to C)uantum Fidelitv account
 4
       7/R/11             qqR q6R on        Wire transfer from Mt. Gox to C)uantum Fidelitv accollnt
 5
       7lt7/17            qqq q6R 67        Wire transfer from Mt. Gox to Ouantum Fidelitv account
 6
       1/l R/l 1          q,gq q6R 74       W'ire tmnsfer frnm I\rIf Gny fn Orrenhrm Fidelifw accnrrnt
 7
       1/19111            sqg g6R 54        Wire fmnsfer from l\,{t Goy tn OrAnfirm Fidelitw a..nnnf
 8
       4/sltl             ssg g5R 0R        Wire transfer from   Mt Gox to Orantlrm Fidelitv 2ccornt
 9
       4/t 6/1\           sg9 s59 34        Wire transfer from N4t Gox to Ouanfum Fidelitv accorrnt
10
       4l).6/17           ssg s6g ?7        Wire tmnsfer from I\zft Gox to Orranfrrm Fidelitv   r..^rnt
11
       517   /11          s25 55S    i7     Wire transfer from I\r1t Gox to Onanfrrm Fidelitw eccorrnt
t2
       6/2t14             $225,000          Wire transfer from Quantum Fidelity account to PNC
l3                                          Bank accorrnt in ioint name
l4 I knew that the funds in    each ofthe above transactions were the proceeds    ofwire fraud, and I carried out
15
     each of those transactions with the intent both to promote my ongoing    wile fraud scheme and to conceal
16
     and disguise the nature, location, source, ownership, and origin ofthose illegal proceeds.
t7             During the time that I devised and carried out this fraud and money laundering scheme, I was a
l8   Special Agent with the United States Secret Service and a member of the Electronic Crimes Task Force,
t9   and the Baltimore Silk Road Task Force        which was actively engaged in investigating Silk Road, its
                                               -
20
     vendors and buyers, and Dread Pirate Roberts, and for which there was an ongoing Grand Jury
21
     investigation in the District of Maryland. I agree that the Baltimore Silk Road Grand Jury investigation
22
     was an official proceeding. As a United States Secret Service Special Agent, I held a position       ofpublic
23
     trust and I abused that position. I further agree that my activities obstructed, influenced, and impeded
24
     the Baltimore Grand Jury related to its Silk Road investigation as well as its resulting case in the District
25
     of Maryland against Ulbricht by, among other things, (1) obstructing and impeding the ability of the
26
     investigation to fully utilize a cooperator's access to Silk Road after my fraud, (2) causing the Task
27
     Force and the Grand Jury to spend time and effort to investigate the thefts from Silk Road that      I
28
                         Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 6 of 13




 I   committed, (3) creating additional incentive for Ulbricht to attempt to hire someone to kill a cooperator

 2   whom Ulbricht suspected of committing thefts I had in fact committed, and (4) obstructing, influencing,

 3   and impeding the Grand Jury's investigation into Ulbricht in the District of Maryland. I agree that I

 4   acted comrptly in obstructing, influencing, and impeding the Grand Jury's Silk Road investigation.

 5            I agree that by May of 2014, there was also an active San Francisco-based Grand Jury

 6   investigation into potential misconduct by Drug Enforcement Administraton (DEA) Special Agent Carl

 7   M. Force, IV, and that the San Francisco Grand Jury subsequently began to investigate my conduct. I

 8   further agree that the San Francisco Grand Jury investigation was an official proceeding.

 9            On May 28, 2014, I was interviewed by a Special Agent with the Federal Bureau of Investigation

l0 (FBI)     and I intentionally misled that agent. On November 13,2014,I was interviewed by a Special

lt   Agent from the Department of Justice Office of Inspector General and I intentionally misled that agent

12   as   well. During   January and February of 2015, I comrptly conzulted with another employee of the                Formatted: Highlight


13   United States Secret Service and encouraged that employce to make false statements to Special Agents               Deleted: him
                                                                                                                        Formatted; Highlight
t4   from the Department of Homeland Security Office of Inspeltor                    (DHS OIG) and the FBI

15   regarding searches conducted on a database controlled by the Financial Crimes Enforcement Network

t6   (FinCEN). On April 2,2015, in the Northern District of Califomia, I also rnisrepresented certain lacts to          Deleted; lied
                                                                                                                        Formatted: Highlight
t7   agents with the FBI, DHS OIG, Departrnent of Justice Office of Inspector General, and Internal Revenue

18   Service Criminal Investigations, r'vith rcspect to the   full scope of the FinCEN database searches.               Deleted:   regarding

                                                                                                                        Formatted; Highlight
t9            I understand and agree that each   ofthe interviews and actions described in the preceding

20   paragraph were in connection with the San Francisco Grand Jury investigation. I further agree that by

21   comrptly encouraging another Secret Service employee to lie to federal agents and by lying to federal

22   agents myself, I obstructed, influenced, and impeded the San Francisco-based Grand Jury investigation

23   into my own criminal conduct and that of former DEA Special Agent Carl M. Force, IV.

24            3.     I agree to give up all rights that I would have   ifl   chose to proceed to trial, including the

25   rights to ajury trial with the assistance ofany attomey; to confront and cross-examine government

26   witnesses; to remain silent or testify; to move to suppress evidence or raise any other Fourth or Fifth

27   Amendment claims; to any further discovery from the government; and to pursue any affirmative

28   defenses and present evidence. I agree, for purposes of entering this guilty plea, sentencing and all other
                          Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 7 of 13




 I   proceedings relevant to the           filing ofthis Agreement, to consent to thejurisdiction ofthe United           States

 2   District Court for the Northem District of Califomia. I expressly waive my right to object to venue in

 3   the Northern District of California.

 4           4.          I agree to give up my right to appeal my conviction, thejudgment, and orders ofthe

 5   Court. I also agree to waive any right I have to appeal any aspect of my sentence, including any orders

 6   relating to forfeiture and or restitution.

 7           5.          I agree not to file any collateral attack on my conviction or sentence, including a petition

 8   under 28 U.S.C. $ 2255 or 28 U.S.C. $ 2241, except that I reserve my right to claim that my counsel was

 9   ineffective in connection with the negotiation of this Agreement or the entry of my guilty plea. I also

t0   agree not to seek reliefunder            l8 U.S.C.   $3582.

11           6.          I agree not to ask the Court to withdraw my guilty plea at any time after it is entered. I

12   understand that by entering into this Agreement: (a) I agree that the facts set forth in Paragraph 2                 ofthis

13   Agreement shall be admissible against me under Fed. R. Evid. 801(dX2XA) in any subsequent

14   proceeding, including at trial, in the event I violate any ofthe terms ofthis Agreement, and (b) I

15   expressly waive any and all rights under Fed. R. Crim.                1l(f) and Fed. R. Evid. 410 with regard to the

l6 facts set forth in      Paragraph 2 of this Agreement in such subsequent proceeding. I understand that the

17   government     will    not preserve any physical evidence obtained in this case.

l8           7.          I agree that the Court will use the Sentencing Guidelines to calculate my sentence. I

t9   understand that the Court must consult the Guidelines and take them into account when sentencing,

20   togetherwiththefactorssetfodhinl8U.S.C.$3553(a).                         IalsounderstandthattheCourtisnotbound

2t   by the Guidelines calculations below, the Court may conclude that a higher Guidelines range applies to

22   me, and,   if it   does, I   will   not be entitled, nor   will I ask to withdraw my guilty plea. I agree that
23   regardless of the sentence that the Court imposes on me, I               will not be entitled, nor will I ask, to
24   withdraw my guilty plea. I also agree that the Sentencing Guidelines offense level will be calculated as

25   follows and that I will not ask for any other adjustrnent to or reduction in the offense level or for               a

26   downward departure from the Guidelines range as determined by the Court. The parties have reached

27   no agreement regarding my Criminal History Category.

28
                            Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 8 of 13




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  1   ll tr
      il
 a    llCount One:

 3
      il-
      ll        a.         Base Offense Level, U.S.S.G.           $251.1:                              7 ($2B1.1(a)(1))
      il
 4
   ll           b.         Specific offense characteristics under U.S.S.G.               Ch.2:         +14 ($2B1.1(bxlXH))
                                                                                                       (amount of loss)
 5 ll
                                                                                                                                         Deletsd: +2 (52Bl.l(bXl0)n
      il
 6    ll                                                                                               +J"(92s1.1o)(2xB))
                                                                                                                                         Deleted:2
                                                                                                                                                             (sophisticated means)


      llil                                                                                             f"o"ri.tion roi S is3r-
                                                                                                                                         Deleted:6
 7
      ll        c.         Adjustments under U.S.S.G. Ch.            3:                                +2 ($381.3)
 8
      ll                                                                                               tabuse ofposition oftnrst)
 9    llll                                                                                             *2 (93c1.1)
                                                                                                       (obstruction ofjustice)
l0 I
                A       Acceptance of Responsibility: If I meet the requirements of U.S.S. G.$ 3E1.1, I may be
ll llll         entitled to a three level reduction for acceptance ofresponsibility, provided that I forthrightly
   ll           admit my guilt, cooperate with the Court and the Probation Office in any presentence
12
   ll           investigation ordered by the Court, and continue to manifest an acceptance ofresponsibility
13 lf
                through and including the time           ofsentencing:                -3

14 il
      ll        -plrrti.otG ,,,"-s/.rbrtantiol portioi,r            of s"hin:e outsi.l. U.S. *oul.t anply
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15              $lBl.l(bxJ0Bl.l(bxJ0t                                           o.g:r,",1 ot

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      ll        J'.       Adiusted Offense         Level:                                              2-l-l-s rlcocndinu on the           Deleted:

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      il-                                                                                              applicabilitr" of 2Bl'l(b)(10)'
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      llcornt   T*o,                                                                                                                     FormatEd: Indent: Left: 5", First line: 0"
18    il.                                                                                                                                                              Deleted:
      ll        u. BaseOffenseLevel,U.S.S.G.g2Sl.l:                                                    la(g2Jl.2(a))
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                                                                                                                                                    1l
l9    II
      ll        b.        Specific offense characteristics under U.S.S.G. Ch.                  2:      +3 ($2JI.2OX2)
20                                                                                                     (substantial interference)
      llil                                                                                                                               Deleted:   +2 ($2J 1.2(bX3))tl
2t il                                                                                                                                                        (extensive in rcope)


22 ll           .         Adjustments under U.S.S.G. Ch.             3:                                +2 (g3B1.3)
                                                                                                       (abuse of position of trust)
   ll
23 il
   Il           d       Acceptance of Responsibility: If I meet the requirements of U.S.S. G.g 3El.l, I may be
24              entitled to a three level reduction foracceptance ofresponsibility, provided that I forthrightly
   ll
                admit my guilt, cooperate with the Court and the Probation Office in any presentence
25 ll
   ll           investigation ordered by the Court, and continue to manifest an acceptance ofresponsibility
26 ll           through and including the time of              sentencing:           -3
      il
27    ll        a       Thc pitrties have reached no aqreeurent on rvhether a 2-level enhanceurent for                                   Formatted: Indent: Left: 0.5" First line: 0"
                ertensir erress of scope u,ould apnlr- under U.S.S.C. rr 2J 1.2(.b)(-3) and agree that the issue mav be
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 I
             f.      Adjusted Offense    Level:                                         18
 2

 3
     Combined Offense      Level:                                                      286      dgpcndir.rra on thc        Formatted: Indent: Left: 0", Hangingr 3.5"
                                                             applicability of   2J I .2(b)(3)                                              Deleted:

 4
             8.      I agree that regardless ofany other provision ofthis Agreement, the govemment may and
 5
     will provide the Court and the Probation Office with all information relevant to the charged offense and
 6
     the sentencing decision.
 7
             9.      I   agee to pay restitution for all the losses caused by all the schemes or offenses with
 8
     which I was charged in this case, and I agree that the amount of restitution will not be limited to the loss
 9
     attributable to the counts to which I am pleading guilty, pursuant to 1 8 U.S.C. $ 3663(aX3). I agree to
l0
     pay restitution in an amount to be set by the Court. I agree that any fine, forfeiture, or restih-rtion
ll
     imposed by the Court against me     will be immediately due and payable and subject to immediate
t2
     collection by the government and I understand that the government may seek immediate collection                  of
l3
     the entire fine, forfeiture, or restitution from any assets without regard to any schedule of payments
14
     imposed by the Court or established by the Probation     Office. I agree that I will make a good-faith effort
l5
     to pay any fine, forfeiture, or restitution I am ordered to pay. Before or after sentencing, I will upon
t6
     request ofthe Court, the government, or the Probation Office, provide accurate and complete financial
t7
     information, submit swom statements and give depositions under oath concerning my assets and my
l8
     ability to pay, surrender assets I obtained as a result ofmy crimes, and release funds and property under
19
     my control in order to pay any fine, forfeiture, or restitution. I agree to pay the special assessment at the
20
     time of sentencing.
2t
             10.     I agree not to commit or attempt to commit any crimes before sentence is imposed or
22
     before I surrender to serve my sentence. I also agree not to violate the terms of my pretrial release; not
23
     to intentionally provide false information to the Court, the Probation Office, Pretrial Services, or the
24
     government; and not to fail to comply with any of the other promises I have made in this Agreement. I
25
     agree not to have any contact with any victims or witnesses in this case, either directly or indirectly,
26
     before and after I am sentenced. This includes, but is not limited to, personal contact, telephone, mail,
27
     or electronic mail contact, or any other written form ofcommunication, and includes any harassing,
28
                    Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 10 of 13




 1   annofng, or intimidating conduct by me directed to any victims or witnesses. I agree that the Court

 2   may also include this no-contact provision as a condition of my supervised release term. I agree that if I

 3   fail to comply with any promises I have made in this Agreement, then the government will be released

 4   from all of its promises in this Agreement, including those set forth in the Government's Promises

 5   Section below, but I   will not be released from my guilty plea.

 6           l.
             1         I agree to forfeit the following property (hereinafter "subject property"):

 7          a.         $165,529.88 from my Fidelity Brokerage account, held in the name ofQuantum

 8           lnvestments;

 9          b.         $306,000 held in trust by my attorney of record;                                              Deleted: Aftorney   Steven H. Levin



10          c.         $4745.g2from my PNC Bank Account, jointlyiif a i.tf," nurn. oi Sr,u*" eiidg"i ind a

ll   person known to the narties.                                                                                    Deleted: Ariana   Esposito



t2           I agree to provide a cashier's check made payable to the United States for the amounts listed

13   above in Paragraph I    I   (a)-(c) to Assistant United States Attorney Arvon Perteet, United States

t4   Attomey's Office, Northern District of Califomia, 450 Golden Gate Avenue, San Francisco, Califomia,

l5   94102, with the criminal docket number noted on the face of the check within 48 hours of the entry         of
t6   my guilty plea.

t7           I admit that the subject property constitutes money involved in money laundering and/or

l8   proceeds from obstruction ofjustice and wire fraud, and thus is forleitable to the United States pursuant

l9 totheprovisionsof l8U.S.S$981(a)(l)(c), 18U.S.C.$982(a)(1)(A);28,U.S.C.Q2461(c)                      andthe

20   procedures outlined in Rule 32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C. $ 853.          I

21   relinquish any and all right, title, and interest I may have in the subject property and agree that such

22   right, title, and interest can be forfeited to the United States without further notice to me. I also agree I

23   will not contest, nor assist anyone in contesting any administrative orjudicial forfeiture proceeding

24   (whether criminal, civil, state or federal) which may be brought against said property. I further agree to

25   waive all constitutional and statutory challenges in any manner (including direct appeal, habeas corpus,

26   or any other means) to any forfeiture carried out in accordance with this Agreement on any grounds,

27   including that the forfeiture constifutes an excessive fine or punishment or that the forleiture proceeding

28   was brought in violation of the statute of limitations.
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 I            I agree that the money involved in the wire transfers discussed above in Paragraph 2, is subject to

 2   forfeiture, and I agree to pay a forfeiture moneyjudgment in the amount of$826,000 (the "Forfeiture                  Formatted; Highlight


 3   Money Judgment"). I further agree that the assets identified in Paragraph         1l (a) - (b), which   were

 4   obtained through violations ofmoney laundering, wire fraud, and obstruction ofjustice, can be forfeited

 5   and   will be used to offset the Forfeiture Money Judgment. I agree to fully assist the Government in

 6   effectuating the payment of the Forfeiture Money Judgment. I        will fully   disclose all my assets to the

 7   United States when requested. Ifthe United States discovers that I have failed to disclose assets to

 8   which I have any interest (the "Undisclosed Assets"), I hereby consent to the forleiture of such

 9   Undisclosed Assets to the United States to satisfy the Forfeiture Money Judgment. I admit that the

l0 Forfeiture Money     Judgment constitutes the net proceeds that I obtained, directly or indirectly as a result

ll   of violations of 18 U.S.C. $ 1343, 18 U.S.C. $ 1957, and 18 U.S.C. $ 1512(c)(2), and/or are substitute               Deleted:   6(a)(   IXA) md (B)


t2   asset as defined in 21 U.S.C. $ 853(p) and 18 U.S.C $ 982(b), and thus are subject to        forleiture to the

l3   United States upon my guilty plea pursuant to this agreement. I agree that all payments that I make

14   towards the Forfeiture Money Judgment shall be made certified or bank check, payable to the "United

15   States" and sent by ovemight delivery or certified U.S. Mail to United States Attorney Arvon Perteet,

t6   United States Attomey's Office, Northem District of California, 450 Golden Gate Avenue, San

17   Francisco, California, 94102, with the criminal docket number noted on the face ofthe check.

18            12.    I agree that this Agreement contains all of the promises and agreements between the

19   government and me, and I will not claim otherwise in the future. No modification of this Agreement

20   shall be effective unless it is in writing and signed by all parties.

21            13.    I agree that the Agreement binds the U.S. Attomey's Office for the Northem District            of
22   Califomia and the United States Department ofJustice, Public Integrity Section, only, and does not bind

23   any other federal, state, or local agency with the exception                                                         DeleHi

24   District of lvlariland has represented to the U.S. Attorrre),'s Office'for the District of Marvland that it

25   asrees that given that the dcfendant is accounting fbr thc conduct herc in the instant plca, it     tvill not file
26   char-qes against tlre defendant   for obstnrcting the Baltirrore Grand JrLry's invcstigation into thc Silk

27   Road as rr'counterl abore in Peragranh 2.

28   The Govemment's Promises
                          Case 3:15-cr-00319-RS Document 171-2 Filed 07/12/18 Page 12 of 13




 1            14.         The govemment agrees not to file any additional charges against the defendant that could
 1   be filed for   (l)   his role in stealing money from Silk Road and Silk Road account holders on January 25

 3   and26,2013, (2) for financial transactions conducted with the proceeds from these thefts from Silk

 4   Road and Silk Road account holders, and (3) for obstructing the investigations of, and for false

 5   statements to, the Baltimore Silk Road Task Force and the San Francisco-based investigation into Shaun

 6   Bridges and Carl M. Force, IV, that led to the captioned Information.

 7            15.         The government agrees to recommend the Guideline calculations set out above, unless

 8   the defendant violates the terms ofthe Agreement above or fails to accept responsibility.

 9   The Defendant's Affirmations

t0            16.         I confirm that I have had adequate time to discuss this case, the evidence, and the

ll   Agreement with my aftorney and that my attomey has provided me with all the legal advice that I

t2   requested.

l3            17.         I confirm that the while I considered sigring this Agreement, and at the time I signed it, I

l4   was not under the influence of any alcohol, drug, or medicine that would impair my ability to understand

l5   the Agreement.

l6            18.         I confirm that my decision to enter a guilty plea is made knowing the charges that have

17   been brought against me, any possible defense, and the benefits and possible detriments of proceeding to

l8   trial. I also confirm that my decision to plead guilty     is made voluntarily, and no one coerced or

l9   threatened me to enter into this Agreement.

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2t   Dated:
                                                                        SHAUN W. BRIDGES
22                                                                      Defendant

23                                                                      MELINDA HAAG
                                                                        United States Attorney
24

25   Dated:
                                                                        KATHRYN HAT'N
26                                                                      WILLIAM FRENTZEN
                                                                        Assistant United States Attorneys
27
                                                                        RAYMOND N. HULSER
28                                                                      Acting Chief, Public Integrity Section
                                                                        U.S. Department of Justice
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 2   Dated:
                                                                   RICHARD B. EVANS
 3                                                                 Trial Attomey

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              19.   I have fully explained to my client all the rights that a criminal defendant has and all the
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     terms of this Agreement. In my opinion, my client understands all the terms of this Agreement and all
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     the rights my client is giving up by pleading guilty, and, based on the information now known to me, my
t2
     client's decision to plead guilty is knowing and voluntary.
t3
t4
l5   Dated:
                                                                   STEVEN H. LEVIN, ESQ.
t6                                                                 Levin and Curtlett, LLC
                                                                   Attorney for Defendant
t7

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